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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
         Plaintiff,                                §
                                                   §
 v.                                                §     Case No. 1:21-cv-00796-RP
                                                   §
 THE STATE OF TEXAS,                               §
                                                   §
         Defendant.                                §

      DEFENDANT’S ADVISORY REGARDING COMPLIANCE WITH THE COURT’S
                    PRELIMINARY INJUNCTION ORDER

        Defendant the State of Texas has appealed this Court’s order granting the motion for a

preliminary injunction, but it is also making good-faith efforts to comply with the injunction.

Defendant files this advisory in response to the Court’s invitation to propose the “means of

disseminating th[e] information” required by the injunction “for this Court’s review and approval.”

ECF 68 at 110.

        Defendant believes it has found a state agency that will be able to effectively disseminate the

notices to state courts and court clerks required by the preliminary injunction and is working out the

details of how to ensure this is done properly. Defendant is finalizing the plan with the relevant agency

and anticipates updating the Court tomorrow with additional details.
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Date: October 7, 2021              Respectfully submitted.

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                                        CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on October 7, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Eric A. Hudson
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